    Case 3:23-cv-01087-B-BH Document 12 Filed 07/10/23                      Page 1 of 5 PageID 295



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

BONNIE RUTH ALLEN-STRAIGHT,                           )
          Petitioner,                                 )
                                                      )
vs.                                                   )       No. 3:23-CV-1087-B-BH
                                                      )
STATE OF TEXAS,                                       )
          Respondent.                                 )       Referred to U.S. Magistrate Judge1

                  FINDINGS, CONCLUSIONS, AND RECOMMENDATION

        Based on the relevant filings and applicable law, the Writ of Coram Nobis, received on

June 13, 2023 (doc. 10), should be DISMISSED for lack of jurisdiction. To the extent the

petitioner seeks next-friend status for David Lester Straight, the request should be DENIED.

                                        I.      BACKGROUND

        Bonnie Ruth Allen-Straight (Petitioner), an inmate currently incarcerated in the Texas

Department of Criminal Justice, Correctional Institutions Division (TDCJ-CID), was convicted in

Johnson County, Texas, of carrying a weapon in a prohibited place; she was sentenced to five

years’ imprisonment on May 5, 2023, following a revocation of her probation. See State v.

Thomas, No. F50926 (18th Dist. Ct., Johnson Cty., Tex. May 5, 2023). On May 11, 2023, an

“Emergency Writ of Habeas Corpus” filed and signed on behalf of Petitioner by David Lester

Straight that appeared to assert both habeas and civil claims was received. (See doc. 3.) Several

affidavits and declarations from others relating to Petitioner’s allegations in this action were also

received on May 16, 2023, and May 30, 2023. (See docs. 4-6, 8-9.)

        By order dated May 23, 2023, Petitioner was advised that David Lester Straight may not



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  By Special Order No. 3-251, this habeas case has been automatically referred for findings, conclusions, and
recommendation.
 Case 3:23-cv-01087-B-BH Document 12 Filed 07/10/23                      Page 2 of 5 PageID 296



represent her in this action because it did not appear that he was licensed to practice law and he

had not established the propriety of “next friend” status under 28 U.S.C. § 2242. If he sought to

pursue the action on Petitioner’s behalf, he had to file a motion to proceed as next friend for her

within 30 days of the order that: (1) explained why Petitioner could not prosecute this case on her

own at this time; (2) established that he is truly dedicated to the best interests of Petitioner; and (3)

showed a significant relationship with Petitioner. (See doc. 7 at 1-2.) Petitioner was advised that

she could alternatively prosecute this action on her own by filing the appropriate forms under her

own signature. (See id. at 2.) To the extent she appeared to be challenging the parole revocation

and state conviction pursuant to which she was in custody, she was directed to complete and return

the appropriate forms for actions filed under 28 U.S.C. § 2254 within 30 days of the order. (See

id.) If she intended to raise any non-habeas civil claims, she was directed to complete and return

the appropriate forms for filing a civil action under 42 U.S.C. § 1983 and to either pay the full

filing fee for civil actions or submit an application to proceed in forma pauperis with the required

certificate of inmate trust account within 30 days of the order. (See id.)

        Petitioner did not complete and return any of the appropriate forms for filing a § 2254

habeas or civil rights action, and she did not pay the filing fee for a civil action or a motion to

proceed in forma pauperis. Instead, she filed a petition for a writ of error coram nobis on June 13,

2023. (See doc. 10.) She argues that the state court lacked authority to enter judgment against her,

codes and statutes do not apply to her, she is innocent of any crime, her conviction was contrived

through fraud, she was falsely arrested and kidnapped, she was punished without indictment, she

was denied bail, she was placed under house arrest and probation, she was ordered to pay monthly

fees for community supervision, she was prohibited from traveling, a state magistrate judge

interfered with her 2009 divorce decree, officers of the state court are involved in trafficking



                                                   2
 Case 3:23-cv-01087-B-BH Document 12 Filed 07/10/23                     Page 3 of 5 PageID 297



women and children, she was subjected to cruel and unusual punishment, officers of the state court

executed a plan to deceive jurors at her trial, her due process rights were violated because false

testimony was presented at trial and she was unable to prepare a defense, due process was denied

at both the trial and appellate levels, she discharged her debt in the underlying state case by sending

a silver coin by registered mail, and she was subjected to double jeopardy. (See id. at 3-20.) In

her filing, she also appears to appoint herself and David Lester Straight as “attorney in-fact for all

purposes related to the administration of the BONNIE ALLEN THOMAS estates[.]” (Id. at 21;

see also id. at 23-24.) She alleges that her place of incarceration is withholding pens, paper, and

library access, and U.S. Mail has been denied to her multiple times, so “[t]herefore it is imperative

that I have my husband, assignee, trust protector to draft, print and file papers as I wish, into the

court case, to compel remedies for my life, liberty and property.” (Id. at 22.)

                                     II.     JURISDICTION

       “Federal courts are courts of limited jurisdiction. They possess only that power authorized

by Constitution and statute, which is not to be expanded by judicial decree.” Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (internal citations omitted). They “must

presume that a suit lies outside this limited jurisdiction, and the burden of establishing federal

jurisdiction rests on the party seeking the federal forum.” Howery v. Allstate Ins. Co., 243 F.3d

912, 916 (5th Cir. 2001). Courts have “a continuing obligation to examine the basis for their

jurisdiction.” MCG, Inc. v. Great W. Energy Corp., 896 F.2d 170, 173 (5th Cir. 1990).

       A writ of error coram nobis is a remedy of last resort for persons who are no longer in

custody pursuant to a criminal conviction and therefore are unable to pursue direct review or seek

collateral relief by filing a petition for a writ of habeas corpus. See United States v. Hatten, 167

F.3d 884, 887 n.6 (5th Cir. 1999). Petitioner is still in custody, so this Court lacks jurisdiction to



                                                  3
    Case 3:23-cv-01087-B-BH Document 12 Filed 07/10/23                              Page 4 of 5 PageID 298



grant coram nobis relief. United States v. Urdiales Garcia, 442 F. App’x 935, 936 (5th Cir. 2011);

see also United States v. Esogbue, 357 F.3d 532, 534 (5th Cir. 2004). It also does “not have

authority to grant coram nobis relief to a state prisoner seeking to attack a state court judgment.”

Back v. Amarillo Police Dep’t, 673 F. App’x 458, 458 (5th Cir. 2017). Accordingly, the petition

for a writ of error coram nobis should be dismissed for lack of jurisdiction.2

                                      III.      NEXT FRIEND STATUS

         As discussed, if David Lester Straight sought to pursue this action on Petitioner’s behalf,

he was required to file a motion to proceed as next friend for her within 30 days of the order that:

(1) explained why Petitioner could not prosecute this case on her own at this time; (2) established

that he is truly dedicated to the best interests of Petitioner; and (3) showed a significant relationship

with Petitioner. (See doc. 7 at 1-2.) The next friend has the burden to clearly “establish the

propriety of his status” so as to “justify the jurisdiction of the court.” Whitmore v. Arkansas, 495

U.S. 149, 164 (1990); Weber v. Garza, 570 F.2d 511, 514 (5th Cir. 1978) (noting that “the court

is without jurisdiction to consider the petition” unless the application sets forth adequate reasons

or explanations for granting next friend status).

         Here, no motion or request to proceed as next friend has been received from David Lester

Straight. He therefore has failed to present the Court with sufficient information and

documentation to satisfy his burden. Moreover, the motion prepared by Petitioner clearly shows

that she is able to prosecute the case on her own.3 Accordingly, any request that David Lester




2
 Because Petitioner has not complied with the May 23, 2023 order to complete and return the appropriate forms to
pursue a § 2254 habeas action or a § 1983 civil rights action, her current filing is not construed as either a § 2254 or
§ 1983 action.
3
 Despite claiming that she has been denied pens, paper, and access to the law library, she was able to prepare a 24-
page, handwritten filing with citations to case law and legal authorities.


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    Case 3:23-cv-01087-B-BH Document 12 Filed 07/10/23                               Page 5 of 5 PageID 299



Straight be authorized to proceed as “next friend” to Petitioner should be denied.4

                                          IV.       RECOMMENDATION

         The Writ of Coram Nobis, received on June 13, 2023 (doc. 10), should be DISMISSED

for lack of jurisdiction. any request that David Lester Straight be authorized to proceed as “next

friend” to Petitioner should be denied.

         SIGNED this 10th day of July, 2023.




                                INSTRUCTIONS FOR SERVICE AND
                              NOTICE OF RIGHT TO APPEAL/OBJECT

        A copy of these findings, conclusions and recommendation shall be served on all parties in
the manner provided by law. Any party who objects to any part of these findings, conclusions and
recommendation must file specific written objections within 14 days after being served with a
copy. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). In order to be specific, an objection must
identify the specific finding or recommendation to which objection is made, state the basis for the
objection, and specify the place in the magistrate judge’s findings, conclusions and
recommendation where the disputed determination is found. An objection that merely incorporates
by reference or refers to the briefing before the magistrate judge is not specific. Failure to file
specific written objections will bar the aggrieved party from appealing the factual findings and
legal conclusions of the magistrate judge that are accepted or adopted by the district court, except
upon grounds of plain error. See Douglass v. United Servs. Automobile Ass’n, 79 F.3d 1415, 1417
(5th Cir. 1996).




4
  To the extent Petitioner attempts to designate David Lester Straight as her counsel or “attorney in-fact” in this action
through a power of attorney, “she fails to understand that a power-of-attorney does not present an individual with the
right to represent someone as ‘next friend’ in a pro se capacity and to act as an actual attorney.” Schreck by & through
Schreck v. City of Amarillo, No. 2:21-CV-220-Z-BR, 2021 WL 5178855, at *3 (N.D. Tex. Nov. 8, 2021) (“An
‘attorney-in-fact’ designation is not a license to practice law”); see also Weber, 570 F.2d at 514 (“individuals not
licensed to practice law by the state may not use the ‘next friend’ device as an artifice for the unauthorized practice of
law.”).

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